                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION


 JOYCE MCKIVER, DELOIS LEWIS,                      )
 DAPHNE MCKOY, ALEXANDRIA                          )
 MCKOY, ANTONIO KEVIN MCKOY,                       )
 ARCHIE WRIGHT, JR., TAMMY                         )
 LLOYD, DEBORAH JOHNSON, ETHEL                     )        JUDGMENT IN A CIVIL CASE
 DAVIS, PRISCILLA DUNHAM, A                        )          CASE NO. 7:14-CV-180-BR
 (DAUGHTER), A (SON),                              )
                 Plaintiffs                        )
                                                   )
 vs.                                               )
                                                   )
 MURPHY-BROWN, LLC,                                )
                                                   )
                                                   )
                       Defendant.                  )



Jury Verdict.

This action came before the Court for a trial by jury before the Honorable W. Earl Britt, Senior
United States District Judge, presiding, on the claims of Plaintiffs Joyce McKiver, Delois Lewis,
Daphne McKoy, Alexandria McKoy, Antonio McKoy, Archie Wright, Jr., Tammy Lloyd,
Deborah Johnson, Ethel Davis, and Priscilla Dunham (“First Trial Plaintiffs”). The jury rendered
a verdict on April 26, 2018, finding that the First Trial Plaintiffs established by a preponderance
of the evidence that Defendant substantially and unreasonably interfered with the First Trial
Plaintiffs’ use of and enjoyment of their property and that Defendant was liable to the First Trial
Plaintiffs for punitive damages. The jury awarded each of the First Trial Plaintiffs compensatory
damages in the amount of $75,000.00 and punitive damages in the amount of $5,000,000.00.

On May 7, 2018, this Court allowed Defendant’s Motion to Impose Statutory Cap on Punitive
Damages, reducing the amount of punitive damages awarded to each of the First Trial Plaintiffs to
$250,000;

On June 7, 2018, the Court allowed the First Trial Plaintiffs’ Motion for Pre-and Post-Judgment Interest
and ordered that the award of compensatory damages shall bear interest at the rate set forth in N.C.
Gen. Stat. § 24-1 from the date of the filing of the complaint, August 21, 2014, until the instant date of
entry of judgment, per annum and without compounding and that the total money judgment (i.e.
compensatory damages, punitive damages, pre-judgment interest, and costs, if any) shall bear interest
at the legal rate at the rate set forth in 28 U.S.C. § 1961(a) from the entry of judgment until paid,
computed daily and compounded annually; and




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On August 31, 2018, the Court allowed Defendant’s Motion to Direct Entry of Final Judgment pursuant
to Rule 54(b) of the Federal Rules of Civil Procedure.

IT IS ORDERED, ADJUDGED, AND DECREED, that Plaintiffs Joyce McKiver, Delois
Lewis, Daphne McKoy, Alexandria McKoy, Antonio McKoy, Archie Wright, Jr., Tammy Lloyd,
Deborah Johnson, Ethel Davis, and Priscilla Dunham are each entitled to recover from Defendant
Murphy-Brown, LLC in the amount of $75,000.00 in compensatory damages and $250,000.00 in
punitive damages, with interest accruing on the compensatory damages at the rate set forth in N.C.
Gen. Stat. § 24-1 from the date of the filing of the complaint, August 21, 2014, until the instant
date of judgment, per annum and without compounding, and that the total money judgment shall
bear interest at the legal rate at until paid in full.

This Judgment filed and entered on August 31, 2018, and copies to:
Eric Manchin (via CM/ECF electronic notification)
John S. Hughes (via CM/ECF electronic notification)
Lisa Blue Baron (via CM/ECF electronic notification)
Michael Kaeske, Jr. (via CM/ECF electronic notification)
Lynn Bradshaw (via CM/ECF electronic notification)
Mona Lisa Wallace (via CM/ECF electronic notification)
Eugene E. Mathews, III (via CM/ECF electronic notification)
Mark E. Anderson (via CM/ECF electronic notification)
Tennille J. Checkovich (via CM/ECF electronic notification)
Christian E. Henneke (via CM/ECF electronic notification)
Christopher E. Trible (via CM/ECF electronic notification)
Darin K. Waylett (via CM/ECF electronic notification)
Garrett H. Hooe (via CM/ECF electronic notification)
Jakarra J. Jones (via CM/ECF electronic notification)
Michael W. Stark (via CM/ECF electronic notification)
Richard C. Beaulieu (via CM/ECF electronic notification)
Valyce M. Davis (via CM/ECF electronic notification)



 August 31, 2018                                       Peter A. Moore, Jr.
                                                       Clerk of Court



                                                 By:
                                                       Deputy Clerk




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